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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

CHANEL RENEE RICE                    :               CIVIL A. NO. 3:17-cv-00447-JCH
    Plaintiff,                       :
                                     :
v.                                   :
                                     :
NEW HAVEN BOARD OF EDUCATION, :
FRANK C. COSTANZO, in his individual :
and official capacity, and           :
VAL-JEAN BELTON, in her individual   :
and official capacity                :
       Defendants.                   :               SEPTEMBER 15, 2017

              NOTICE REGARDING PARTIES’ JOINT STATUS REPORT

       Defendant Frank Costanzo wishes to note for the record that it was the plaintiff Ms. Rice

who on June 9, 2017 initially stated that she was interested in discussing settlement. He

responded to this inquiry via counsel, but received no response. He has no other changes or

comments on the Parties’ Joint Status Report.


                                                     Respectfully submitted,

                                                     DEFENDANT
                                                     FRANK COSTANZO


                                                       /s/ Jeffrey S. Bagnell
                                                     Jeffrey S. Bagnell
                                                     Federal Bar No. CT18983
                                                     jbagnell@bagnell-law.com
                                                     Westport, Connecticut 06880
                                                     (203) 984-8820
                                                     (203) 227-8402 (fax)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of September 2017, a copy of the foregoing was

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system

or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                      /s/Jeffrey S. Bagnell
                                                      Jeffrey S. Bagnell




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